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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                    )
                                             )              Case No. 8:05CR252
                    Plaintiff,               )
                                             )
      vs.                                    )
                                             )                    ORDER
CARLOS ECHEVESTE-GAMA,                       )
                                             )
                    Defendant.               )


      This matter came before the court December 30, 2005 on defendant’s Petition (#71)

and Plea Agreement (#72). Nancy Svoboda appeared for the government and defendant’s

counsel, Adam Sipple, appeared. The defendant, Carlos Echeveste-Gama, did not

appear.      IT IS ORDERED:

      1. On December 27, 2005 a Petition for Action (#73) was filed, and a warrant for

defendant’s arrest was issued. No further action will be taken at this time.

      Dated this 3rd day of January 2006.


                                         BY THE COURT:


                                         S/ F. A. Gossett
                                         United States Magistrate Judge
